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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 22-10889-RGS

              SECURITIES AND EXCHANGE COMMISSION

                                      v.

          TRENDS INVESTMENTS INC., BRANDON ROSSETTI,
              CLINTON GREYLING, LESLIE GREYLING,
            ROGER BENDELAC, and THOMAS CAPELLINI

                 FINDINGS OF FACT, RULINGS OF LAW,
                  AND ORDER AFTER A BENCH TRIAL

                             January 24, 2025

STEARNS, D.J.

     In June of 2022, the Securities and Exchange Commission (SEC) sued

Trends Investments Inc. (Trends), Brandon Rossetti, Clinton Greyling,

Leslie Greyling, Roger Bendelac, and Thomas Capellini, alleging several

counts of securities fraud. Clinton Greyling quickly settled with the SEC, and

the court entered a consent judgment against him on September 23, 2022.

Trends, Rossetti, and Leslie Greyling defaulted, and the court entered

judgment against them on April 25, 2023.

      The claims against Bendelac and Capellini proceeded through a

lengthy and contentious period of discovery, leading to a four-day bench trial

that convened the week of October 15, 2024. The issues to be tried included
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whether Bendelac had committed any primary violations of securities law;

whether Bendelac had aided and abetted the commission of securities fraud

by other individuals; and whether Capellini had aided and abetted the

commission of securities fraud by Bendelac. Based on the credible testimony

and exhibits offered at trial, the court makes the following findings and

rulings.1

                           FACTUAL FINDINGS

The Parties

      1.    Trends was a Delaware company which specialized in brokering

reverse mergers.2 Greyling Test., Day 1 Tr. [Dkt # 269] at 77-79.

      2.    Clinton Greyling was the President and sole owner of Trends. Id.

at 77, 79-80; see also Trial Ex. 111.

      3.    Leslie Greyling is Clinton Greyling’s father. Garnache Test., Day

1 Tr. at 56; Donelan Test., Day 3 Tr. [Dkt # 271] at 11. Leslie Greyling is




      1Following the trial, the parties were invited to submit proposed
findings of fact and rulings of law, which they did, and from which the court
has benefitted.

      2 A reverse merger occurs    when a private company with an active
business operation buys a public company that does not have an operating
business, effectively enabling the private company to become publicly
traded. Greyling Test., Day 1 Tr. at 77-78. Trends acted as an intermediary
between the private and public companies during these transactions. Id.
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domiciled in England and has been banned from trading in securities in the

United States. 3 Brown Test., Day 3 Tr. at 28-29.

      4.    Rossetti worked for Trends as an independent contractor.

Garnache Test., Day 1 Tr. at 37. His job was to raise funds from private

investors for Trends. Id.; see also Greyling Test., Day 1 Tr. at 97-98.

      5.    Bendelac was a longtime friend of the Greyling family and often

advised Clinton Greyling on business matters. Greyling Test., Day 1 Tr. at

80-81. From August of 2017 through October of 2019, Bendelac was a

director of Trends. Trial Exs. 110, 111; see also Greyling Test., Day 1 Tr. at

92-93.

      6.    Capellini is Bendelac’s brother-in-law. Capellini Test., Day 3 Tr.

at 73. Bendelac served as Capellini’s informal investment advisor and had

Capellini’s permission to trade on his accounts.4 Id. at 51, 74-75.




      3 The United States attempted to extradite Leslie Greyling but failed.

Brown Test., Day 3 Tr. at 29.

      4  Bendelac undoubtedly lied to investigators about his access to
Capellini’s trading accounts during his first interview with the SEC. The
court, however, does not view this lie as evidence of his participation in the
purported conspiracy to defraud investors. Instead, the court finds it more
likely than not that Bendelac lied to cover up any potential tax fraud or
breach of his reporting duties to First Manhattan.
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Unsuccessful 2017 Purchase of Alterola

      7.    In early 2017, the Greylings conceived a plan to acquire the

public company Alterola Biotech, Inc., and merge it with a private medicinal

marijuana chewing gum company. Greyling Test., Day 1 Tr. at 93-94. This

transaction differed from prior deals because, instead of acting solely as an

intermediary, the Greylings intended for Trends (and thus Clinton Greyling)

to become the major beneficial owner of Alterola. Id.

      8.    Alterola’s purchase price was about $300,000. Trial Ex. 78; see

also Greyling Test., Day 1 Tr. at 99. Because the Greylings did not then have

$300,000, they asked Rossetti to solicit the requisite funding from investors.

Greyling Test., Day 1 Tr. at 98-99. Rossetti charged an “extraordinarily high”

commission fee for his work – 40% of any funds he raised. Id. at 102; see

also Trial Ex. 78.

      9.    Rossetti represented to investors that he was selling shares that

Trends already owned. Garnache Test., Day 1 Tr. at 49-50; Madison Test.,

Day 2 Tr. [Dkt # 270] at 55. Trends, however, did not yet own the shares of

Alterola that Rossetti was offering for sale. Greyling Test., Day 1 Tr. at 101.

      10.   Rossetti also represented that he was selling the shares at a

substantial discount from their future market price. Garnache Test., Day 1

Tr. at 46, 48-49; Madison Test., Day 2 Tr. at 59; Jones Test., Day 4 Tr. [Dkt


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# 272] at 24; see also, e.g., Trial Exs. 17, 20, 21. The promised future market

price, however, never materialized.

      11.   To prove to investors that the Alterola stock was tradeable,

Rossetti would occasionally ask Clinton Greyling to “show a trade.” Greyling

Test., Day 1 Tr. at 104; see also id. at 105. If he could, Clinton Greyling would

make the trade as requested. Id. at 105-106. If, however, he could not – if,

for example, he lacked shares to trade or had no money in his account – he

would occasionally ask Bendelac to make the trade instead as a personal

favor. Id. at 107.

      12.   On prior occasions, when Clinton Greyling asked Bendelac to

make a trade, the trade was meant to demonstrate DTC eligibility. 5 Greyling

Test., Day 2 Tr. at 35-36.

      13.   Although the Greylings had informed Bendelac that Trends was

actively soliciting investments in Alterola, see Greyling Test., Day 1 Tr. at 108,

Clinton Greyling did not specify that the trade requests were for the purpose

of inducing investors to invest in Alterola, see id. at 108-109; see also

Greyling Test., Day 2 Tr. at 35.


      5  The Depository Trust Company (DTC) is a quasi-governmental
agency that converts physical shares of stock into digital form. Once physical
shares are successfully deposited with DTC, the stock becomes “DTC
eligible.” To maintain this eligibility, at least one shareholder must sell at
least one share within 30 days of the stock becoming DTC eligible.
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     14.   Rossetti raised approximately $500,000 from investors, Trial

Exs. 73, 272, $200,000 of which was paid directly to him, Trial Ex. 78.6

Trends wired the remaining $300,000 to an escrow attorney for Alterola in

March of 2017. Trial Exs. 66, 67, 71. Issues arose in completing the purchase,

however, and the deal collapsed shortly thereafter. Greyling Test., Day 1 Tr.

at 111. Although the Alterola escrow attorney returned all deposited funds to

Trends in April of 2017, Trial Exs. 68, 72, Trends did not take any action to

reimburse the investors.7

2017 Purchase of Token

     15.   The Greylings shifted focus after the collapse of the Alterola deal

and decided to use the money obtained from investors to acquire a different

public shell company: Token Communities Ltd.8 Greyling Test., Day 1 Tr. at

119. To avoid certain reporting rules (and the restrictions on the sale of


     6 Rossetti continued to solicit investments after this point, ultimately

raising an additional $2.25 million from investors. See Trial Exs. 271, 272.
     7 Clinton Greyling eventually did acquire Alterola in March of 2018.

Trial Exs. 69, 70. He did not, however, transfer any shares to investors until
September of 2019 – and even then, the shares were marked as restricted,
precluding investors from depositing and selling them. Trial Exs. 63, 187,
189.

     8 At the time of the purchase, the company was called Pacific Media

Group Enterprises, Inc. The Greylings changed the name to Extract
Pharmaceuticals Inc. in April of 2017, and then to Token Communities Ltd.
in January of 2018. For ease of reference and to avoid confusion, the court
will refer to the company by its most recent name, Token.
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shares which accompanied those rules), they coordinated the transfer of

large blocks of stock to various entities controlled by Clinton Greyling and

his business associates. Id. at 119-120. Aleutian Equity Holdings LLC, a

holding company controlled by Bendelac, was one of those entities. See, e.g.,

Trial Exs. 6, 90.

      16.   Although the paper trail indicates that Bendelac (through

Aleutian) paid $2,000 to Frances Munro for 100,000 shares in Token,

Clinton Greyling credibly testified that he – and not Bendelac – funded the

entire transaction. Compare Trial Exs. 90, 302; Greyling Test., Day 1 Tr. at

121, 124-125, with Greyling Test., Day 1 Tr. at 125.

      17.   Bendelac testified that the shares were a reimbursement of a

$100,000 payment he had made to satisfy the debt of one of Clinton

Greyling’s business associates, Irving Aronson. Bendelac Test., Day 2 Tr. at

87, 89; see also Trial Exs. 115, 299, 300. He considered the $100,000 a loss

at the time, however, and any amount earned from the shares “would be

gravy at that point.” Bendelac Test., Day 2 Tr. at 85.

      18.   In August of 2017, Bendelac became a director of Trends, Trial

Ex. 100, and executed a 54 to 1 forward split of his shares in Token, Trial Ex.

3 at 8. Several months later, at Clinton Greyling’s direction, he transferred

5.1 million of his now 5.4 million shares to Trends investors. Trial Ex. 3 at


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32-33; see also Trial Ex. 11. Bendelac did not know and had never met any

of the investors to whom he transferred shares. Garnache Test., Day 1 Tr. at

67; Madison Test., Day 2 Tr. at 59; Jones Test., Day 4 Tr. at 24.

Unsuccessful Sakthi Merger

      19.   In early 2019, the Greylings brought Token current in its SEC

filings. 9 They then concocted a plan to merge Token with the Sakthi Group,

a well-established company based in India that appeared to have significant

capital resources. Greyling Test., Day 2 Tr. at 9-12.

      20.   Rossetti touted the potential merger to investors in April of 2019.

Trial Exs. 56, 57, 61. The merger, however, ultimately fell through in June of

2019. Greyling Test., Day 2 Tr. at 11, 14-16.

      21.   Following the failed merger, Token again became delinquent in

its SEC filings, further preventing investors from depositing shares in digital

form. Greyling Test., Day 2 Tr. at 17-18.

Trading in Token

      22.   Bendelac owned a brokerage account in the name of Aleutian at

First Manhattan Co. Bendelac Test., Day 2 Tr. at 93. His wife, a compliance

director at the firm, was the registered representative on the account. Id.




      9Trends had previously stopped filing periodic reports for Token
beginning with the period ending June 30, 2018
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     23.   Although, as the spouse of an employee, Bendelac was required

to report all trading (including trades made through other firms) to First

Manhattan, he often traded in Capellini’s E*Trade accounts and his brother’s

Charles Schwab & Co. account without notifying his wife or First Manhattan.

     24.   On December 18, 2017, Rossetti told an investor that “[w]e are

going to see a bid price of a [sic] 1 dollar any min now.” Trial Ex. 127. On

December 20, 21, and 27, 2017, Bendelac placed bids for 500 shares of Token

stock at $1.00 in Capellini’s account. Trial Ex. 281. These bids each expired

at the end of the day without executing. Id.

     25.   On January 5, 2018, Bendelac again placed a bid for 100 shares

of Token stock at $1.00 in Capellini’s account. Id. This bid remained open

and unexecuted until January 19, when Bendelac cancelled it and submitted

a new bid for 500 shares of Token stock at $1.00. Id. The January 19 bid

remained open and unexecuted until March 3, 2018, when it was cancelled

by Bendelac. Id.

     26.   In September of 2018, Bendelac deposited 300,000 shares of

Token stock into his Aleutian account at First Manhattan. Trial Ex. 157. He

supported the deposit with a sham legal opinion stating that he had paid for

the shares himself and that the shares were not affiliated with Token

ownership. Id.


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      27.    Although First Manhattan has certain regulatory obligations and

requires its employees to inquire into the source of any large blocks of low-

priced securities deposited by a customer, Trial Exs. 158, 161, Bendelac’s wife

appears to have approved the deposit without conducting due diligence into

the source of the shares, Trial Ex. 157; Brown Test., Day 3 Tr. at 32; see also

Trial Exs. 95, 97.

      28.    Trends’ investors were unable to deposit their shares at the time,

both because they lacked the proper paper lineage (the shares had come from

Bendelac rather than Trends), Trial Exs. 41, 47, and because many market

makers were unwilling to accept deposits of cryptocurrency-related stocks,

Greyling Test., Day 1 Tr. at 89-90, 134.

      29.    On September 26, 2018, Bendelac sold 100 Token shares at

$1.40. Trial Ex. 276. Two days later, he sold another 500 shares at the same

price. Id.

      30.    In the following months, Bendelac executed the following

transactions in Token stock:

             a.      On November 7, 2018, he sold 500 shares of Token stock

      at $1.60. Id. Greyling bought 100 of these shares. Id.

             b.      On February 19, 2019, he sold 100 shares of Token stock to

      himself (acting through Capellini’s account) at $2.05. Id.


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       c.    On February 20, 2019, he sold 200 shares of Token stock

 at $2.00 and, through his brother’s account, bought 100 shares at a

 price of $2.25. Id.

       d.    On April 4, 2019 (just as Rossetti began to tout the Sakthi

 merger to investors), Bendelac sold the 100 Token shares in Capellini’s

 account at a price of $2.50. Id.

       e.    On April 9, 2019, Bendelac sold 500 shares of Token stock

 at $3.78. Id. Greyling also bought 10 shares of Token stock at $3.45

 the same day. Id.

       f.    On April 11, 2019, Bendelac sold 200 shares of Token stock

 at $3.15. Id. Greyling also bought 10 shares of Token stock at $4.15

 the same day. Id.

       g.    On April 16, 2019, Bendelac sold 100 shares of Token stock

 at $3.00. Id. Greyling also bought 100 shares of Token stock at $3.50

 the same day. Id.

       h.    On April 17, 2019, Bendelac sold 200 shares of Token stock

 at $2.80. Greyling also bought 90 shares of Token stock in four

 separate transactions (60 shares at $3.05 and 30 at $3.00). Id.

       i.    On April 22, 2019, Bendelac sold 400 shares of Token stock

 at $3.06 and, through his brother’s account, bought 100 shares of


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 Token stock at $3.25 and 200 at $3.00. Id. Two days later, he bought

 another 100 shares at $3.00 in his brother’s account. Id.

       j.    On May 10, 2019, Bendelac sold 100 shares of Token stock

 at $3.25. Id. Greyling also bought 100 shares at $3.00 the same day,

 and Rossetti bought 130 shares in five separate transactions (70 shares

 at $3.25 and 60 at $3.50). Id.

       k.    On May 20, 2019, Bendelac sold 300 shares of Token stock

 to himself (acting through his brother’s account) at $3.01. Id.

       l.    On May 21, 2019, Bendelac sold 314 shares of Token stock

 at $4.20. Id. That same day, in fourteen separate transactions ranging

 in value from $2.50 per share to $4.20, Rossetti bought 800 shares and

 sold 200 shares. Id. A day later, in four separate transactions, Rossetti

 bought a further 120 shares at $4.20. Id.

       m.    On May 23, 2019, Bendelac sold 300 shares of Token stock

 at $4.00. Id. Rossetti purchased 250 of these shares in three separate

 transactions. Id.

       n.    On May 24, 2019, Bendelac sold 386 shares of Token stock

 at $4.12. Id. That same day, in twelve separate transactions ranging

 from $3.00 to $4.30, Rossetti bought 360 shares and sold 1 share. Id.




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       o.    On June 11, 2019, Bendelac sold 400 shares of Token stock

 at $4.54, and, through Capellini’s account, bought 100 shares at $4.40,

 100 shares at $4.50, and 300 shares at $4.54. Id.

       p.    On June 12, 2019, Bendelac sold 1,000 shares of Token

 stock at $4.26 and, through Capellini’s account, bought 600 shares at

 $4.25 and 400 shares at $4.28. Id.

       q.    On June 13, 2019, Bendelac sold 1,513 shares of Token

 stock at $4.27 and, through Capellini’s account, bought 500 shares at

 $4.26 and 1,000 shares at $4.27. Id.

       r.    On June 14, 2019, Bendelac sold 2,000 shares of Token

 stock to himself (through Capellini’s account) at $4.25. Id.

       s.    On June 17, 2019, Bendelac sold 1,000 shares of Token

 stock at $4.25 and, through Capellini’s account, bought 1,100 shares at

 that same price. Id.

       t.    On June 19, 2019, Bendelac sold 2,000 shares of Token

 stock at $4.26 and, through Capellini’s account, bought 100 shares at

 $4.25 and 1,900 shares at $4.26. Id.

       u.    On June 25, 2019, Bendelac sold 240 shares of Token stock

 at $4.68. Id. Rossetti also bought 140 shares at $4.80 the same day.

 Id.


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       v.    On September 5, 2019 (long after the Sakthi merger had

 fallen apart), Bendelac sold 8,500 shares of Token stock at $2.02 and,

 through Capellini’s account, bought 5,000 shares at $2.01, 2,500

 shares at $2.02, and 600 shares at $2.03. Id.

       w.    On September 9, 2019, Bendelac sold 2,000 shares of

 Token stock at $2.54 and, through Capellini’s account, bought 100

 shares at $2.50, 900 shares at $2.52, and 1,000 shares at $2.55. Id.

       x.    On October 10, 2019, Bendelac, through Capellini’s

 account, bought 189 shares of Token stock at $2.51. Id.

       y.    On October 18, 2019, Bendelac sold 2,500 shares of Token

 stock to himself (acting through Capellini’s account) at $2.53. Id.

       z.    On November 12, 2019, Bendelac sold 3,000 shares of

 Token stock at $2.61. Id.

       aa.   On November 13, 2019, Bendelac sold 1,000 shares of

 Token stock to himself (acting through Capellini’s account) at $2.54.

 Id.

       bb.   On December 2, 2019, Bendelac sold 1,930 shares of Token

 stock at $2.00 and, through Capellini’s account, bought 1,711 shares at

 $2.00 and 1,100 shares at $2.01. Id.




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           cc.    On December 3, 2019, Bendelac, through Capellini’s

     account, bought 1,000 shares of Token stock at $2.00. Id.

           dd.    On March 17, 2020, Bendelac sold 2,500 shares of Token

     stock to himself (acting through Capellini’s account) at $1.52. Id.

           ee.    On March 18, 2020, Bendelac sold 2,475 shares of Token

     stock at $1.51 and, through Capellini’s account, bought 200 shares at

     $1.50 and 2,300 shares at $1.51. Id.

           ff.    On April 8, 2029, Bendelac, through Capellini’s account,

     bought 100 shares of Token stock at $1.00. Id.

           gg.    On April 16, 2020, Bendelac, through Capellini’s account,

     bought 100 shares of Token stock at $1.00. Id.

     31.   Clinton Greyling testified that, apart from a few occasions in

which he merely asked Bendelac to make a trade (without explaining why),

he did not direct Bendelac’s trading in Token stock. Greyling Test., Day 2 Tr.

at 9, 34-35.     The phone and Skype records are consistent with his

testimony.10 See Trial Ex. 282.




     10 Many of the trades occurred on days in which Clinton Greyling and

Bendelac did not exchange any text messages or phone calls. See Trial Ex.
282. And even when phone calls did occur on the same day as a trade, they
often occurred after market hours and lasted mere seconds, indicating that
the calls went unanswered. See id.
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      32.   The nature of the transactions themselves further supports

Greyling’s testimony.     Most of the trades involved Bendelac selling a

(relatively small) quantity of shares at a certain price point and, on the same

day, purchasing a similar quantity in Capellini’s (or his brother’s) account for

a similar price. Only on a few occasions did Clinton Greyling or Brandon

Rossetti buy Token shares on the same day that Bendelac sold shares, and

when they did, it was often at different prices and quantities.

      33.   Capellini credibly testified that, in 2019, he was experiencing

liquidity problems and was behind on his bills. Capellini Test., Day 3 Tr. at

76-78, 80. Bendelac owed Capellini between $35,000 and $40,000 for

expenses incurred in connection with a joint business venture but could not

reimburse Capellini at that time because he, too, was experiencing liquidity

problems. Id. at 80; see also Trial Ex. 270.

      34.   To generate liquidity, Bendelac came up with a plan to effectively

withdraw money from Capellini’s retirement account without triggering a tax

penalty. 11 The plan was as follows: (1) Capellini would roll $100,000 over

from his 401(k) into a (newly-created) self-directed IRA account that allowed

for trading in individual stocks, including stocks trading on the over-the-




      11 The legality of this scheme as a matter of tax law is not currently

before the court.
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counter market; and (2) Capellini would then use the IRA account to

purchase shares of Token stock from Bendelac in an arranged trade. This

would essentially transfer cash from Capellini’s retirement account to

Bendelac’s brokerage account, which Bendelac could then use to pay the

$35,000 to $40,000 owed to Capellini. Capellini Test., Day 3 Tr. at 81-83.

      35.   By using dozens of small transactions, Bendelac and Capellini

minimized the risk that any buy order in Capellini’s account would

accidentally be fulfilled by a different seller (meaning that the funds from the

sale would not be deposited into Bendelac’s account).

      36.   Capellini testified that he and Bendelac chose to trade in Token

stock because he had an interest in blockchain and cryptocurrency. Capellini

Test., Day 3 Tr. at 96. The court finds it more likely than not, however, that

Token stock was used because of its illiquidity. Fewer buyers and sellers

meant that it was easier to ensure that Bendelac would be the seller for

Capellini’s purchases. 12




      12 That the potential consequence of illiquidity was a lost investment

did not factor in the plan because Bendelac had not paid for his shares in the
first instance (and already considered the $100,000 debt from Aronson a
loss at the time he received his shares, see Bendelac Test., Day 2 Tr. at 85).
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                              RULINGS OF LAW

Sections 17(a)(1) and 10(b)

      1.       Section 17(a)(1) of the Securities Act, 15 U.S.C. §§ 77a et seq.,

prohibits “any person in the offer or sale of securities” from directly or

indirectly “employ[ing] any device, scheme, or artifice to defraud.” Id.

§ 77q(a)(1).

      2.       Section 10(b) of the Exchange Act, 15 U.S.C. §§ 78a et seq., and

its cognate Rules 10b-5(a) and (c) similarly prohibit any person from

“employ[ing] any device, scheme, or artifice to defraud,” or “engag[ing] in

any act, practice, or course of business which operates or would operate as a

fraud or deceit upon any person” in connection with the purchase or sale of

a security. 17 C.F.R. §§ 240.10b-5(a), (c); see also 15 U.S.C. § 78j(b).

      3.       “The elements of an action for securities fraud under Section

10(b) of the Exchange Act (and Rule 10b-5 thereunder) and Section 17(a)(1)

of the Securities Act are substantially the same under the Supreme Court’s

precedents.” SEC v. Sharp, 626 F. Supp. 3d 345, 389 (D. Mass. 2022),

quoting SEC v. Tambone, 417 F. Supp. 2d 127, 131 (D. Mass. 2006). Liability

under both causes of action requires scienter. See Flannery v. SEC, 810 F.3d

1, 9 (1st Cir. 2015).




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      4.    To establish scienter, a plaintiff must show that the defendant

consciously intended to defraud or acted with a high degree of recklessness.

See SEC v. Ficken, 546 F.3d 45, 47 (1st Cir. 2008). “Recklessness is ‘a highly

unreasonable omission, involving not merely simple, or even inexcusable[ ]

negligence, but an extreme departure from the standards of ordinary care,

and which presents a danger of misleading buyers or sellers that is either

known to the defendant or is so obvious the actor must have been aware of

it.’” Id. at 47-48, quoting SEC v. Fife, 311 F.3d 1, 9-10 (1st Cir. 2002).

Section 17(a)(3)

      5.    Section 17(a)(3) of the Securities Act prohibits “any person in the

offer or sale of securities” from directly or indirectly “engag[ing] in any

transaction, practice, or course of business which operates or would operate

as a fraud or deceit upon the purchaser.” 15 U.S.C. § 77q(a)(3).

      6.    “[T]he language of § 17(a)(3) . . . quite plainly focuses upon the

effect of particular conduct on members of the investing public, rather than

upon the culpability of the person responsible.” Aaron v. SEC, 446 U.S. 680,

696-697 (1980) (emphasis in original). Negligence thus is sufficient to

establish liability under this provision. See Ficken, 546 F.3d at 52.




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Section 9(a)(2)

      7.    Section 9(a)(2) of the Exchange Act prohibits any person from

“effect[ing] . . . a series of transactions in any security . . . creating actual or

apparent active trading in such security, or raising or depressing the price of

such security, for the purpose of inducing the purchase or sale of such

security by others.” 15 U.S.C.§ 78i(a)(2).

      8.    Section 9(a)(2) requires “proof of specific intent or purpose to

induce others to trade in a security.” SEC v. Wallace, 2017 WL 8230026, at

*4 (C.D. Cal. May 8, 2017).

Aiding and Abetting

      9.    “To establish aiding and abetting liability, a plaintiff must

establish: 1) a primary violation was committed, 2) the defendants had a

general awareness that their conduct was a part of an overall activity that was

improper and 3) the defendants knowingly and substantially assisted in the

primary violation.” Tambone, 417 F. Supp. 2d at 136; see also SEC v.

Durgarian, 477 F. Supp. 2d 342, 357 (D. Mass. 2007).




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     ULTIMATE FINDINGS OF FACT AND RULINGS OF LAW

Sections 17(a)(1), 9(a)(2), and 10(b)

     1.    Days after Rossetti told an investor that “[w]e are going to see a

bid price of a [sic] 1 dollar any min now,” Trial Ex. 127, Bendelac placed a

series of $1 bids on Token stock, none of which were executed.

     2.    It is more likely than not that these bids were placed at Clinton

Greyling’s behest.

           a.    In his subsequent trading history, Bendelac only used the

     Aleutian account to sell – not buy – Token stock.

           b.    The bids occurred around the same time that Bendelac

     transferred hundreds of thousands of Token shares to investors whom

     he had never met, acting at Clinton Greyling’s instruction.

     3.    As a director of Trends from August of 2017 through October of

2019, Bendelac knew or should have known that Trends was soliciting

investments from investors at the time he placed these bids.

     4.    The SEC has not proven by a preponderance of the evidence,

however, that Bendelac knew or should have known that Rossetti would use

these bids to induce those investments.




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           a.    There is no evidence that Greyling told Bendelac the bids

     would be used to induce investments, and there are other plausible

     reasons for the request which would not entail defrauding investors.

           b.    Bendelac did not know and had never met Rossetti, Trends’

     main point of contact with investors.

     5.    In addition to placing bids, Bendelac made dozens of trades in

Token stock between September of 2018 and April of 2020.

     6.    As a director of Trends from August of 2017 through October of

2019, Bendelac knew or should have known that Trends was soliciting

investments from investors at the time he made these trades.

     7.    The SEC has not proven by a preponderance of the evidence,

however, that Bendelac knew or had reason to know that his trades were

being used by Trends to induce those investments.

           a.    As noted above, Bendelac did not know and had never met

     Rossetti.

           b.    Most of Bendelac’s trades were made in furtherance of a

     different (perhaps sketchy) scheme: to withdraw money from

     Capellini’s retirement account without incurring a tax penalty.

           c.    Clinton Greyling testified that, on the few occasions that

     Bendelac did trade in Token stock at his request, he did not explain to


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     Bendelac the reason for the request.       As Clinton Greyling’s prior

     requests to Bendelac to show a trade were always for the purposes of

     proving DTC eligibility, the court does not draw any inference of

     knowledge from the impropriety of the request alone.

           d.    Bendelac did not know and had never met any of the

     investors directly. At best, he learned their names when he transferred

     stock to them at Clinton Greyling’s behest – but even then, there is no

     indication he knew or should have known what information was used

     to induce their investments in the first instance.

     8.    In the absence of sufficient evidence to establish scienter, the

SEC has not met its burden of proving by a preponderance of the evidence

that Bendelac knowingly or recklessly employed any device, scheme, or

artifice to defraud Trends’ investors in violation of Section 17(a)(1) of the

Securities Act or Section 10(b) of the Exchange Act.

     9.    The SEC also has not met its burden of proving by a

preponderance of the evidence that Bendelac acted “for the purpose of

inducing the purchase or sale of such security by others” in violation of

Section 9(a)(2) of the Exchange Act.




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Section 17(a)(3)

      10.   The SEC has not proven by a preponderance of the evidence that

Bendelac was negligent as to the risk of defrauding investors in violation of

Section 17(a)(3).

            a.      Bendelac traded in relatively small amounts of Token stock

      – a mere fraction of the amount of stock each shareholder held.

            b.      The court credits his explanation that the trades were not

      placed with any manipulative intent. Instead, they were meant to free

      up money in his Aleutian account for credit card and bill payments.

            c.      For the reasons explained above, the SEC has not shown

      that Bendelac knew or should have known that Rossetti was using

      these trades to induce investments.

Aiding and Abetting

      11.   The SEC has not met its burden of showing that Bendelac had

any awareness that his conduct was part of the concerted and improper

scheme alleged in its Complaint or that he knowingly and substantially

assisted in any of the alleged violations of the securities laws (whatever other

perhaps improper purpose he meant to pursue).

      12.   The SEC thus has not proven by a preponderance of the evidence

that Bendelac aided and abetted the alleged securities fraud.


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      13.   The SEC has not met its burden of showing Bendelac committed

any primary violation of securities law or, for aiding and abetting purposes,

that Capellini had any awareness that his conduct was part of any concerted

and improper scheme alleged in its Complaint or knowingly and

substantially assisted in any alleged violation of the securities laws.

      14.   The SEC thus has not proven by a preponderance of the evidence

that Capellini aided and abetted the commission of securities fraud.

                                      ORDER

      The parties will submit proposed forms of judgment consistent with

the court’s findings and rulings within fourteen (14) days of the entry of this

opinion.

                                     SO ORDERED.

                                     /s/ Richard G. Stearns___ _____
                                     UNITED STATES DISTRICT JUDGE




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